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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

THE ARMY RETIREMENT
RESIDENCE FOUNDATION-
SAN ANTONIO, INC. D/B/A
ARMY RESIDENCE COMMUNITY
VS. CASE NO. 5:17-CV-874

PHILADELPHIA INDEMNITY
INSURANCE COMPANY, ET AL.

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On Removal from:
CAUSE NO. 2017-CI-16586

THE ARMY RETIREMENT
RESIDENCE FOUNDATION-

SAN ANTONIO, INC. D/B/A

ARMY RESIDENCE COMMUNITY,

IN THE DISTRICT COURT

VS. BEXAR COUNTY, TEXAS

PHILADELPHIA INDEMNITY
INSURANCE COMPANY, ET AL.

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438TH JUDICIAL DISTRICT
EXHIBIT 6
ALL DOCUMENTS FILED IN STATE COURT

 

IndeX

 

Document Filed

 

A Plaintiffs Original Petition 8/30/ 17

 

B Defendant Philadelphia Indemnity Insurance

COmpaIly’S Original Answer 9/8/17

 

C Defendant Philadelphia Indemnity Insurance

COmpany’S Notice Of Removal to Federal Court 9/8/17

 

D Plaintiffs Special Exceptions to Defendant
Philadelphia Indemnity InSurance Company'S 9/8/ 17
` Original AnSWer [

 

 

 

 

 

 

ALL DOCUMENTS FILED IN STATE COURT

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EXhibit 4A

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8/30/2017 6:16 PN|

Donna Kay l\/chinney

Bexar County District C|erk
Accepted By: Krystal Gonzalez

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THE ARMY RETIREMENT RESIDENCE
FOUNDATION - SAN ANTONIO, INC.
D/B/A ARMY RESIDENCE COMMUNITY

lN THE DISTRICT COURT

V.
438 JUDICIAL DlsTRICT

`_,_

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PHILADELPHIA INDEMNITY
INSURANCE COMPANY, MICHAEL DEAN §
HARGRAVE AND CATTO & CATTO, INC. §
D/B/A CATTO & CATTO, LLP D/B/A
CATTO & CATTO BENEFITS GROUP, LLP §
D/B/A CATTO & CATTO § BEXAR COUNTY, TEXAS
PLAINTIFF’S ORIGINAL PETITION

TO THE I-IONORABLE JUDGE OF SAID COURT:

THE ARMY RETIREMENT RESIDENCE FOUNDATION ~ SAN ANTONIO, INC.
D/B/A ARMY RESIDENCE COMMUNITY files this Original Petition against Defendants
PHILADELPHIA INDEMNITY INSURANCE COMPANY (“Philadelphia"`), MICAEL DEAN
HARGRAVE (“Hargrave” or “Adjuster") and CATTO' & CATTO, INC. D/B/A CA"I"I`O &
CATTO, LLP D/B/A CATTO & CATTO BENEF[TS GROUP, LLP D/B/A CATTO & CAT'I`O,
(“Catto & Catto"’) and for causes of action would respectfully show the Court the following:

I. DlscovERY LEVEL

Pursuant to rule 190 of the Texas Rules of Civil Procedure, PlaintifT` intends to conduct

discovery under Level 3.
II. VENUE

Venue is appropriate in Bexar County, Texas because all or part of the conduct giving rise

to the causes of action were committed in Bexar County, Texas, a contract was entered into in

 

 

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Bexar County, Texas_, and the Plaintiff and property which is the subject of this suit are located in
Bexar County, Texas.
lII. PARTIES
Plaintiff is a Nonprof`it Corporation with its principle place of business in Bexar County,
Texas.
Defendant PHILADELPHIA is in the business of insurance in the State of Texas. The

insurance business done by PHILADELPHIA in Texas includes, but is not limited to, the

following:

0 The making and issuing of contracts of insurance with the Piaintiff;

0 The taking or receiving of application for insurance, including the Plaintif`f’s
application for insurance;

0 The receiving or collection of premiums, commissions, membership fees,
assessments, dues or other consideration for any insurance or any part thereof`,
including any such consideration or payments from the Plaintiff; and

¢ The issuance or delivery of contracts of insurance to residents of this state or a

person authorized to do business in this state, including the Plaintifi`.

Defendant, PHlLADELPHIA INDEMNlTY lNSURANCE COMPANY, a foreign
insurance carrier, organized and existing under the laws of the State ofPennsylvania may be served
with process by serving it registered agent for service of process C T Corporation System 1999
Bryan Street Suite 900 Dallas, Texas 75201-3136 333. Plaintijj“ requests that citation be issued
and that service be made by certified mail, return receipt requested

Def`endant, MICl-IAEL DEAN HARGRAVE is an Adjuster and he may be cited with
process at 2220 Winter Sunday Way Arlington, Texas 76012. Michael Dean Hargrave engages in
the business of insurance in Texas. Plaintiff requests that citation be issued and that service be

made by certified mail, return receipt requested

 

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Defendant, CATTO & CATTO, Inc. D/B/A CATTO & CATTO, LLP D/B/A CATI`O &
CATTO BENEFITS GROUP, LLP D/B/A CATTO & CATTO, a for profit corporation
incorporated in the State of`Texas with its principle place of business in Bexar County Texas is an
insurance agency that engages in the business of insurance in Texas. CATTO & CATTO_, lnc.
D/B/A CATTO & CATTO, LLP D/B/A CATTO & CATTO BENEFITS GROUP, LLP D/B/A
CATTO & CATTO may be cited with process by serving its registered agent f`or service of`process,
.lames L Hayne, Jr. at 217 E. Houston Street, Suite 100 San Antonio, Texas 78205. Plaintijf
requests that citation be issued and that service be made by certified mail, return receipt
requested

IV. NATURE oF THE CAsE; RELIEF SOUGHT

This is a first~party insurance case stemming from extensive damage to Plaintiff’s Property
caused by a storm on or about April 12, 2016. Plaintif`f` seeks a declaration that its property and
consequential losses are covered by an insurance policy issued by Philadelphia Indemnity
lnsurance Company. Plaintifi` seeks damages for breach of contract, violations of the Texas
lnsurance Code, common law bad faith, civil conspiracy and breach of fiduciary duty. Plaintiff`
also seeks its attorney’s fees, statutory penalties, costs of court and pre- and post-judgment interest.
As required by Rule 47 of` the Texas Rules of` Civil Procedure, Plaintif`f` seeks monetary relief over
$1,000,000.

V. BACKGROUND FACTS

The Arrny Residence Community serves approximately seven hundred and fifty retired
commissioned officers of United States Mi|itary in its mission to provide access to housing,
medical and other community services for its residents (the “Community"). The Community

serves the best this country has to offer and yet, despite this fact, the Def`endants have undertaken

 

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to deliberately underpay the covered losses which will ultimately impact these fine men and
women. The Community is covered by a policy of insurance, numbered PHPKl359399, which
the lnsurance Defendant sold to Plaintiff (the “Policy”). The Policy covered Plaintiff’s property
against loss by hail, wind and water damage, among other perils.

Plaintiff has performed all conditions precedent to its recovery under the Policy.

Plaintiff gave timely notice to the carrier.

The carrier assigned the claim to Hargrave, among others, to investigate, report on and
adjust the loss.

Plaintiff provided information to the Adjuster and opportunities for the Adjuster to inspect
the Community.

The lnsurance Defendant failed and refused to pay Plaintiff in accordance with its promises
under the Policy.

Plaintiff has suffered property damage which has not been paid, even though the amounts
are well-established and have been provided to the lnsurance Defendant and its Adjuster.

The lnsurance Defendant has failed to make an attempt to settle Plaintiff’s claim in a fair
manner, although its liability to the Plaintiff under the Policy is without dispute. This conduct is a
violation of Tex. lns. Code Sec. 541 .060(a)(2)(A).

The lnsurance Defendant and its Adjuster have failed to explain the reasons for its non-
payment under the policy. The lnsurance Defendant and its Adjuster have failed to issue payment
without any explanation why full payment was not being made. The lnsurance Defendant and its
Adjuster did not communicate that any future payments would be forthcoming to pay the entire

losses covered under the Policy. This conduct violates Tex. Ins. Code Sec. 541 .060(a)(3).

 

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The lnsurance Defendant and its Adjuster have failed to affirm or deny coverage within a
reasonable time. Plaintiff did not receive timely indication of acceptance or rejection regarding the
full and entire loss in writing from the lnsurance Defendant or the Adjuster in a timely manner.
This conduct is a violation of Tex. lns. Code Sec. 541 .060(a)(4).

The lnsurance Defendant refused to fully compensate Plaintiff under the terms of the Policy
and the adjusting agency and the Adjuster failed to conduct a reasonable investigation The
adjusting agency and the Adjuster performed an inadequate and outcome-oriented investigation of
Plaintiff’s loss which resulted in an unfair, biased and inequitable evaluation of Plaintiff’s losses_,
with the purpose to create a false pretext for Philadelphia to underpay the covered loss. This
conduct is a violation of Tex. Ins. Code Sec. 541 .060(a)(7).

The lnsurance Defendant and the Adjuster failed to meet their obligations under the Texas
. insurance Code regarding timely acknowledging Plaintiff’s losses, beginning investigation of
Plaintiff"s claim, and requesting all information reasonably necessary to investigate Plaintiff’s
claim within the time period mandated by statute. This conduct is a violation of Tex. lns. Code
Sec. 542.055.

The insurance Defendant and the Adjuster failed to accept or deny Plaintiff’s full and entire
claim within the time period mandated by statute. This conduct is a violation of Tex. Ins. Code
Sec. 542.056.

The lnsurance Defendant Adjuster forced Plaintiff to file this suit by paying substantially
less than the amount of covered damages This conduct violates Texas lnsurance Code §

542.003(b)(5) and 28 TAC § 21 .203(5).

 

 

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The insurance Defendant failed to meet its obligation under the Texas lnsurance Code

regarding payment of the claim without delay. This conduct is a violation of Tex. lns. Code Sec.

542.058.

VI. CLAlMs AGAleT PHILADELPH|A INDEMNlTv INSURANCE CoMPANY
Declaratog Judgment. Plaintiffre-al leges the foregoing paragraphs Pursuant to the Texas
Declaratoryl.ludgment Act, Plaintiff is entitled to a declaration that the Policy provides coverage
for the cost to repair the damaged property, less only a deductible, among other things. ln the
alternative, Plaintiff asserts that the Policy is ambiguous and must be interpreted in favor of
coverage and against the lnsurance Defendant

Breach of Contract. Plaintiffre-alleges the foregoing paragraphs The acts and omissions

 

of Philadelphia and its agents constitute a breach and/or anticipatory breach of` the Philadelphia’s
contract with Plaintiff. Plaintiff has satisfied all conditions precedent to the fulfillment of its
contractual demands. Accordingly, additionally or in the alternative, Plaintiff brings an action for
breach of contract against the lnsurance Defendant pursuant to Texas statutory and common law,
including Chapter 38 of the Texas Civil Practice and Remedies Code, and seek all of its damages
for such breach, including actual damages, consequential damages, attorneys’ fees, prejudgment
interest, other litigation expenses and costs of court.

Violations of the Texas lnsurance Code. Plaintiff re-alleges the foregoing paragraphs
At all pertinent times, the lnsurance Defendant was engaged in the business of insurance as defined
by the Texas lnsurance Code. The acts and omissions of the lnsurance Defendant and its agents
constitute 'one or more violations of the Texas lnsurance Code. More specifically, the lnsurance

Defendant has, among other violations, violated the following provisions of the Code:

 

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l. lnsurance Code chapter 542, the Prompt Payment Act.
2. insurance Code § 542.003(b)(5) and 28 TAC § 21 .203(5).
3. lnsurance Code chapter 541, section 541.060 by, among other things:

v misrepresenting one or more material facts and/or policy provisions relating to
coverage;

¢ failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement
of a claim with respect to which their liability has become reasonably clear;

¢ failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement
of a claim under one portion of a policy with respect to which liability has become
reasonably clear in order to influence Plaintiff to settle its claim With respect to
another portion of the policy;

~ failing to promptly provide a reasonable explanation of the basis in law or fact for
the denial of Plaintiff`s claims;

¢ refusing to affirm or deny coverage within a reasonable time; and/or
0 refusing to pay Plaintiff` s claim without conducting a reasonable investigation.
Where statements were made by the lnsurance Defendant, Plaintiff reasonably relied upon
them. As a result of the foregoing conduct, which was and is the producing cause(s) of injury and
damage to Plaintiff`, Plaintiff has suffered damages including, without limitation, actual damages,
economic damages, and consequential damages Moreover, one or more of the foregoing acts or
omissions were “knowingly” made, entitling Plaintiff to seek treble damages pursuant to the
lnsurance Code. The lnsurance Defendant has also violated the Prompt Payment Act, and Plaintiff
seeks 18% damages as a penalty, plus reasonable and necessary attomey’s fees incurred as a result
of these violations
“Common Law Bad Faith.” Plaintiffre-alleges the foregoing paragraphs The lnsurance
Defendant has refused to pay or delayed in paying a claim after liability has become reasonably

clear. The lnsurance Defendant has refused to pay, delayed in paying or offered grossly inadequate

 

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and unconscionable sums to settle the claims submitted by Plaintiff. This constitutes a breach of
its common law duty of good faith and fair dealing’ i.e., it is acting in “bad faith."`

Moreover, the lnsurance Defendant and its agents have “investigated” and “adjusted”
Plaintiff’s claim in a malicious intentional, fraudulent and/or grossly negligent fashion, and
Plaintiff is entitled to extra-contractual damages including exemplary damages Plaintiff has
sustained serious damage to their property as a result of the lnsurance Defendant’s refusal to honor
the Policy. The insurance Defendant is well aware that its actions involve an extreme risk that
Plaintiff will suffer financial damage as a result of its refusal to honor its obligations yet it is
consciously indifferent to Plaintiff’s rights Plaintiff is entitled to recover its actual damages
consequential damages punitive damages and pre- and post-judgment interest.

VII. CLA!MS AGAleT MICHAEL DEAN HARGRAVE

Violations of the Texas lnsurance Code. Plaintiff re~alleges the foregoing paragraphs
At all pertinent times Hargrave was engaged in the business of insurance as defined by the Texas
lnsurance Code. The acts and omissions of Hargrave constitute one or more violations of the Texas
lnsurance Code. More specifically, Hargrave violated the Texas lnsurance Code chapter 541,

section 541 .060 by, among other things:

0 failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of
a claim with respect to which their liability has become reasonably clear;

¢ refusing to pay Plaintiff’s claim without conducting a reasonable investigation.

The foregoing paragraphs are incorporated herein. The lnsurance Defendant assigned the
loss and the claim to Hargrave, who was at all pertinent times the agents of the lnsurance
Defendant, through both actual and apparent authority. The acts, representations and omissions of

the Adjuster are attributed to the lnsurance Defendant.

 

 

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Despite having been assigned the claim, and despite being given authority and instructions
to inspect, adjust and evaluate the claim, Hargrave failed and refused to adjust the claim properly,
failed to fully inspect the property and the damages failed to fully investigate the claim, failed to
respond to requests for information from Plaintiff, failed to timely evaluate the claim, failed to
timely estimate the claim, and, failed to timely and properly report to the lnsurance Defendant and
make recommendations to the lnsurance Defendant.

Plaintiff provided information regarding the loss and the claim to Hargrave and provided
full and complete access to the Community. Plaintiff provided sufficient information to Hargrave
to adjust and evaluate the loss Plaintiff made inquiries regarding the status of the loss and payment,
yet Hargrave failed and refused to respond to the inquiries and failed to properly adjust the claim
and the loss As a result, to this date, Plaintiff has not received full payment for the claim,

Hargrave misrepresented the true scope of covered losses at the Community and pushed a
lowball estimate as significantly lower than what was due under the policy and laws of the state of
Texas.

During the course of the claims investigation, Hargrave misrepresented the true scope of
damage to the Community, failed to inspect and address all hail and wind damage to the
Community, and failed to include all internal damage to buildings in estimates of covered losses

The Adjuster failed to provide an estimate for areas of covered loss specifically pointed
out to them.

The Adjuster misrepresented the proof of loss process and information regarding the claims
process

The Adjuster failed to educate the policyholder about benefits due under the policy and

made misleading statements about code upgrade benefits due under the policy.

 

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The actions of Hargrave were negligent, reckless willful and intentional, and were the
proximate and producing cause of damages to the lnsured.

Where statements were made by Hargrave, Plaintiff reasonably relied upon them. As a
result of the foregoing conduct, which was and is the producing cause(s) of injury and damage to
Plaintiff, Plaintiff have suffered damages including, without limitation, actual damages economic
damages and consequential damages Moreover, one or more of the foregoing acts or omissions
were “knowingly” made, entitling Plaintiff to seek treble damages pursuant to the lnsurance Code.

Upon information and belief, Philadelphia relied solely on Hargrave’s estimate and
recommendation in making payment on Plaintiff’s claim. Thus, Hargrave was responsible for
scoping, adjusting, and estimating the claim, Hargrave’s failure to properly scope and estimate
the loss directly led to the underpayment of Plaintiff’s claim, As a result of Hargrave’s conduct,
the lnsurance Defendant significantly underpaid the claim, Hargrave’s estimate failed to address
all of the damage caused by the hail storm.

Plaintiff notified the insurer on multiple occasions that the covered damage and the
condition of the damaged property necessitated additional repairs or complete replacement under
the policy. On or about August 2, 2017, Hargrave in conjunction with JS Held, LLC (“JSl-l"`)
created an estimate to repair Plaintiff’s property that only included an allowance to repair portions
of the covered damage. In addition, Hargrave unreasonably withheld from the estimate,
allowances for reasonable and necessary costs to repair the covered damage such as Code
Upgrades, Architectural and Engineering Fees and General Contractor’s Overhead and Profit
despite the fact that, at the time of the investigation and estimate, it was reasonably clear that
Philadelphia was liable for these damages under the policy. ln addition, Hargrave represented that

the damage to the fences and gutters of numerous buildings did not warrant repair and omitted

 

 

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these damages from the estimate despite the fact that, at the time of the investigation and estimate,
it was reasonably clear that Philadelphia was liable for these damages under the policy. Each of
these categories of damages was specifically presented to defendants by Plaintiff’s contractors yet,
though required by any reasonable review of the scope of the work and obviousness of the damage,
they were omitted by Hargrave,

Hargrave retained the services of JSH in a pre-textual attempt to confirm his unreasonable
conclusions and to convince Plaintiff that the scope and cost to repair the covered losses was much
less than estimated by Plaintiff’s contractor. He retained JSH knowing that JSH would provide a
report Hargrave could use as a pretext for underpaying the claim, and knowing that the
investigation JSH would perform and did perform was not reasonable Following the pre-textual
JSH investigation, Hargrave relayed his unreasonable conclusion to Philadelphia who acted on his
recommendations when they underpaid Plaintiff’s claim and issued their partial payment in
February and August of 201 7.

Attorney’s fees Plaintiffre-alleges the foregoing paragraphs Plaintiff has been required
to engage the services of the undersigned attorneys and have agreed to pay its attorneys a
reasonable fee for services expended and to be expended in the prosecution of its claims against
the lnsurance Defendant and the Adjuster through the trial court and all levels of the appellate
process Plaintiff seeks the recovery of all of its attorney’s fees and expenses

With respect to all causes of action asserted herein, Plaintiff seeks the recovery of
prejudgment and post-judgment interest

VIII. CLAIMS AGAINST CATTo & CATTo
Plaintiff re-alleges the foregoing paragraphs Catto & Catto is Plaintiff’s longstanding

insurance agent and/or producer who sold Plaintiff the Policy. Following the loss at issue in this

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suit, Catto & Catto interjected themselves into the claims handling process through its agents, John
Cornelius, Brad Weberg and others and represented to Plaintiff that they were advising and
representing Plaintiff’s interests in the claim. Plaintiff placed a special confidence in Catto &
Catto as a result of their actions and representations Upon information and belief, at the same
time Catto & Catto mislead Plaintiff that its interests were being looked after by Catto & Catto,
Catto & Catto was communicating with Philadelphia regarding Plaintiff’s claim. The information
and communications were not presented, conveyed or otherwise disseminated to Plaintiff or, if
they were, the significance of the communications Were represented as though Catto & Catto was
actin with due regard for Plaintiff’s interests Upon information and belief, Catto & Catto and
Philadelphia were acting in concert to look to the best interests of themselves and not Plaintiff.
Catto & Catto, although representing itself an advisor to Plaintiff on the claim, was actually
looking out for its own financial interest, not Plaintiff’ s

Breach of Fiduciag Dug. Plaintiff re-alleges the foregoing paragraphs Catto & Catto
breached the special relationship of trust with Plaintiff by acting in concert with Philadelphia to
convince Plaintiff to accept the unreasonably low claim payment. The disloyalty of Catto & Catto
has damaged Plaintiff.

Civil Conspiracy. Plaintiff re-alleges the foregoing paragraphs When committing the
acts complained of herein, Philadelphia and Catto & Catto acted in combination to accomplish an
unlawful purpose. These Defendants had a meeting of the minds on the object of their course of
action and one of the members carried out an overt act to further the object course of action. The
wrongful acts of the Defendants were, and are, the proximate cause of Plaintiff’ s injuries
Specifically, Catto & Catto misrepresented and downplayed the significance of the damage to

Plaintiff During numerous meetings with Plaitniff, Catto & Catto undertook to convince Plaintiff

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to accept the unreasonably low offers made by Philadelphia Upon information and belief, the
information used by Catto & Catto came directly from communications with Philadelphia which
neither Catto & Catto nor Philadelphia informed Plaintiff had taken place. Both Catto & Catto
and Philadelphia were aware of Catto & Catto’s relationship of trust with Plaintiff and used that
relationship to attempt to influence Plaintiff for their own benefit.
IX. CONDITIONS PRECEDEN'I`

All conditions precedent for Plaintiff to recover under the policy have been or will be met.
All notices were timely and properly given to Defendants in such manner as to fully comply with
the terms and conditions of the relevant insurance policy or other contracts and applicable law. In
the alternative, Plaintiff alleges that as to any such terms, conditions notices, or requests,
Defendants waived them. Defendants are estopped from asserting them, and/or the Plaintiff
substantially complied with them, or is excused. Plaintiff makes the same allegation of waiver or
estoppel as to every defense or exclusion plead by Defendants ~as to each claim for breach of
contract or statutory violation as to Defendants

ln addition, as to any exclusion, condition, or defense pled by Defendants Plaintiff would
show that:

0 The clear and unambiguous language of the policy provides coverage for damage

to the Property caused by wind, hail and water damage and damages resulting
therefrom;

0 In the alternative, any other construction of the language of the policy is void as
against public policy;

0 Any other construction and its use by the Defendants violates the Texas lnsurance
Code section 541 et. seq. and is void as against public policy;

0 Any other construction is otherwise void as against public policy, illegal, and
violates state law and administrative rule and regulation.

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0 ln the alternative, should the Court find any ambiguity in the policy, the rules of
construction of such policy mandate the construction and interpretation urged by
Plaintiff;

v in the alternative, Defendants are judicially, administratively, or equitably estopped
from denying Plaintiff’s construction of the policy coverage at issue;

v ln the alternative, to the extent that the wording of such policy does not reflect the
true intent of all parties thereto, Plaintiff pleads the doctrine of mutual mistake
requiring information.

X. JURY DEMAND
Plaintiff request that ajury be convened to try the factual issues in this action.
XI. REQUEST FoR DlsCLosuRE

Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff request that Defendants
provide the information required in a Request for Disclosure.

XII. REQuEsT FoR PRoDUCTioN To PHILADELPH!A INDEMNITY INSURANCE CoMPANv

l. Produce Philadelphia’s complete claim file for Plaintiff’s Property relating to or
arising out of any damage which occurred.

2. Produce all emails, notes, and other forms of communication between Philadelphia,
its agents, Adjusters, employees, or representatives and Engle Martin, Hargrave and/or their
agents adjusters, representative or employees relating to, mentioning, concerning or evidencing
the Plaintiff’s Community which are the subject of this suit,

3. Produce all emails, notes, and other forms of communication between
Philadelphia, its agents, Adjusters, employees or representatives and Catto & Catto and/or their
agents adjusters, representative or employees relating to, mentioning, concerning or evidencing

Plaintiff’s Community which is the subject of this suit,

XIII. REQuEsT FoR PRoDUCTloN T0 MchAEL DEAN HARGRAVE

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l. Produce your complete claim file for Plaintiff’s Property relating to or arising out
of any damage which occurred.

2. Produce all emails, notes, and other forms of communication between you and
Philadelphia and/or their agents, adjusters, representative or employees relating to, mentioning,
concerning or evidencing Plaintiffs Community which are the subject of this suit,

3. Produce all emails, notes, and other forms of communication between you and-
Catto & Catto and/or their agents, adjusters, representative or employees relating to, mentioning,
concerning or evidencing Plaintiff’s Community which is the subject of this suit,

XIV. REQuEsT FoR PRoDUCTloN To CATTo & CATTo

1. Produce your complete file for Plaintiff’s Property relating to or arising out of any
damage which occurred.

2. Produce all emails, notes, and other forms of communication between Catto &
Catto, and/or their agents, representative or employees and Philadelphia and/or their agents,
adjusters, representative or employees relating to, mentioning, concerning or evidencing Plaintiff" s
Community which are the subject of this suit,

PRAYER

WHEREFORE, Plaintiff seeks the following relief:

A. The Couxt’s declaration that the Policy provides coverage for the damage to the
home, less only a deductible;

B. Alternatively, a ruling that the Policy is ambiguous and must be interpreted in favor

of coverage and in favor of Plaintiff;

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C. Damages against the insurance Defendant for breach of contract, including actual
damages consequential damages attorneys’ fees, pre- and post-judgment interest, other litigation
expenses and costs of court;

D. Penalty in the amount of 18% damages for violations of the Prompt Payment Act;

E. Damages against the insurance Defendant and the Adjuster, jointly and severally,
for other violations of the Texas insurance Code, including without limitation economic damages
actual damages consequential damages treble damages pre- and post-judgment interest, other
litigation expenses and costs of court and reasonable and necessary attomeys’ fees;

F. Damages against the lnsurance Defendant and the Adjuster, jointly and severally, for
breach of the duty of good faith and fair dealing, including actual damages consequential damages
punitive damages other litigation expenses and costs of court, and pre- and post-judgment interest;

G. Damages against the lnsurance Defendant and Catto & Catto,jointly and severally, for
civil conspiracy to commit breach of the duty of good faith and fair dealing, including actual
damages consequential damages punitive damages other litigation expenses and costs of court,
and pre- and post-judgment interest;

H. Damages against Catto & Catto, for breach of fiduciary duty, including actual damages
consequential damages punitive damages other litigation expenses and costs of court, and pre-
and post-judgment interest; and

I. Plaintiff also seeks all other financial relief and rulings to which they may be legally or
equitably entitled.

Respectfully submitted,
GRAVELY & PEARSON, L.L.P.

425 Soledad, Suite 600
San Antonio, Texas 78205

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ATTORNEYS FOR PLAINTIFF

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IN THE l)lSTRICT COURT OF

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cLarM LmGA'rloN § cleL .rul)lclAL ms'rmc'r counts

STAND!NG PRETR}AL ORDER CONCERN!NG
BEXAR C()UN'I`Y COMMERCIAL HAIL CLAIMS

This order applies to pretrial matters in commercial property insurance cases filed in the Districl Courts of'
Bexar County, Tean that involve insurance disputes arising from thc hall stems occurring in Bexar
County in April and May of 20|61 'l`he purpose of this order is to expedite pretrial matters discovery and
mediation in order to minimize court costs and litigation expenses

This order shall be posted on the Bexar County District Clerk websire and shall be attached to thc
Original Petition of applicable cases All attorneys and parties should endeavor to notify others about this
order.

Parties seeking to be excused from any pan of this order must set a hearing and request relief from the
COUI‘[.

' AUTOMAT¥C ABA'I'EMENT - The filing of an original answer by the commercial insurance carrier

shall trigger an immediate and automatic abatement. The case shall remain abated until 30 days after a
mediation impasse

The abatement period Will apply to all court ordered deadlines and Rule l90 discovery deadlines The
abatement period will not apply to the deadlines in this order or to any statutory deadline, interest or
penalties that may apply under any statutory code or law, ‘l”he parties may send written discovery during
the abatement time period, however, the responses and objections to those discovery requests will not bc
due until 30 days after the end of the abatement period

MED}ATION - The parties shall agree to a mediator and to a mediation date An Agreed Mediation
Order, in the form attaches shall be filed with the court within 120 days after the answer is llled.

Within 15 days of an unsuccessful mediation, the parties will submit a proposed Agrced Sclieduling
Order to the court

DISCOVERY ~ Wilhin l20 days of tire filing of an answer by the commercial insurance carrier, the
parties will use their best efforts to exchange information and documentation pertaining to the commercial
property, including the following expert reports engineering reports estimates of damage or repairs
contents lists for contents damage claim{s); photographs repair receipts or invoices the non-privileged
portions of the commercial insurance carrier and adjusting company's claims file ('including all claim
diary notes activity logs loss notes and entail correspondence regarding the insurance claim); payment
ledger, payment log and/or proof of payment from the insurance carricr; a copy ofthe insurance policy in
effect at the lime of the respective storm claim(s); and the non-privileged portions of the underwriting
file. If the insurance carrier is not in possession of the adjusting company‘sladjuster's claims tilc, and tire
adjusting company/adjuster is not named as a party in the lawsuit and represented by separate counsel,
then the insurance carrier shall seek the adjusting company's claims file and use their best efforts to
exchange this information within the 120 day time period The insurance carrier is also ordered to notify

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the independent adjusting company that all emails, activity notes and loss diary notes pertaining to the
hall storm claim in litigation shall be preserved and not destroyed Finally, a privilege log will also be
produced in accordance with the Texas Rules ol`Civil Procedure l`or any redactions or privileges asserted
Within 180 days of the filing of an answer by tile commercial insurance carrier, thc parties will use their
best efforts to exchange accounting and financial documentation and other information pertaining to any
claims for business interruption, loss of business incomc. lost protits, inventory or food loss (providc list
with values), lost business expense, accounts receivable and any other business loss claim,

Any expert reports, engineering reports, contractor estimates or any other estimates of damages or repairs
obtained pursuant to this order for settlement. demand, or mediation purposes and exchanged prior to
mediation shall be for mediation purposes only and shall be considered confidential except that any
estimates andfor reports that are part of the claims ltte, which were obtained cr prepared during the claims
handling shall not be considered confidential under this paragraph llowever, it a consultant, whose
report is produced t'or tnediation, is designated as a retained testifying expert and does not produce a
subsequent report for use at trial, the mediation report shall not remain confidential

Contidential reports and estimates are only confidential for the lawsuit in which they are being uscd.
Contidential expert reports designated for mediation purposes shall be returned to the providing party
within l4 days of a written request Such reports shall not be discoverable or admissible et trial or any
hearing lt` the party procuring the report designates the expert to testify, such party shall have the right to
prevent discovery or testimony by the expert regarding the mediation report and any opinions tlierein,
provided that a subsequent report is produced The procuring party may use data such as measurements
and photographs without waiving this privilege Nothing herein shall prohibit the use of those reports
and estimates in any subsequent insurance claims or lawsuits involving the same commercial
insurance carrier.

Once a mediation date and mediator are agreed to by all partics, the commercial insurance carrier
shall be permitted to inspect the property involved in the lawsuit (as soon as practicable) prior to
mediation ll` mediation is unsuccessful, the commercial insurance carrier and other defendants may

rts-inspect the property with the samc, new or additional experts pursuant to the Te.\'as Rules of Civil
Procedure

   

 

   

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Anton ia Artc`aga, lodge ` David A. Canales. lodge
57“' District Court 73"’ Distrlct Court

 

 

 

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AGREED MEDIATION ORDER

Pursuant to the Standing Pretria! Order Conceming Bexar County Commercial Hail C|aims, the
parties agree 10 the following mediation date and mediator:

Batc:

 

Mediator:

 

The court hereby, approves and orders the above date and mediaror as agreed by the parties.

Each side shall pay an equal portion of the mediation fee.

Ail parties must have in attendance a representative with full authority to enter into a final settlement

agreement. The following sha¥i be personally in attendance at the mediation until excused by me
mediator

!. An attorney of record for each party, un¥ess the party is self~represented.

2. A!l individua¥ parties, either piaimifi` or defendant, except that individua¥ defendant
adjustch and insurer employee defendants are not ordered to attend so long as a
representative with full authority m negotiate and settle on their behalf is present

 

 

3. A representative of ea¢h non-individual party, uniess the parties agree otherwise in
writing
Signed and entered on , 2016.
lodge Presiding

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EXhibit 4B

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CAUSE NO. 2017-CI-16586

THE ARMY RETIREMENT § IN THE DISTRICT COURT
RESIDENCE FOUNDATION-

SAN ANTONIO, INC. D/B/A

ARMY RESIDENCE COMMUNITY,

Plaintiff,

VS. BEXAR COUNTY, TEXAS

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PHILADELPHIA INDEMNITY §

INSURANCE COMPANY, §
MICHAEL DEAN HARGRAVE §
and CATTO & CATTO, INC. d/b/a §
CATTO & CATTO, LLP d/b/a §
CATTO & CATTO BENEFITS §
GROUP, LLP d/b/a §
CATTO & CATTO, §
§

Defendants. § 438'1`H JUDICIAL DISTRICT

PHILADELPHIA INDEMNITY INSURANCE COMPANY’S
ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF THIS COURT:
Philadelphia Indemnity Insurance Company, a Defendant in the above-
styled and numbered cause (“Defendant”), files this Original Answer in response to

Plaintiff s Original Petition, and respectfully shows the Court as follows:

I.
GENERAL DENIAL

As permitted by Rule 92 of the Texas Rules of Civil Procedure, Defendant
enters a general denial of all the matters pled by Plaintiff, Superior Home Health

Services, LLC (“Plaintiff”), and requests that the Court require Plaintiff to prove all

 

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of its charges and allegations by a preponderance of the evidence as required by the
Constitution and laws of the State of TeXas.

II.
AFFIRMATIVE DEFENSES

By way of affirmative defense, if the same should be necessary, and as
permitted by Rule 94 of the TeXas Rules of Civil Procedure, Defendant asserts the
following as to the claims and causes of action brought against it by Plaintiff:

1. With regard to the claims Plaintiff has brought for violation of
provisions of chapter 541 of the Texas lnsurance Code, Defendant alleges that
Plaintiff is barred from asserting such claims by reason of Plaintiff’s failure to
provide Written notice of such claims at least 60 days before filing suit, as required
by section 541.154(b) of the lnsurance Code.

2. As to Plaintiff’s claims for violation of provisions of chapter 541 of the
lnsurance Code and for breach of the common law duty of good faith and fair
dealing, Philadelphia alleges that a bona fide dispute eXists, precluding liability and
Plaintiff s recovery of damages under these extra-contractual theories. U.S. Fire Ins.
Co. v. Williams, 955 S.W.Zd 267, 268 (Tex. 1997); see Transp. Ins. Co. v. Moriel, 879
s.W.zd 10, 17 (Tex. 1994).

3. Pleading further and in the alternative, Defendant states that
Plaintiff’s claims and causes of action based upon alleged misrepresentations by
Defendant and/or reliance by Plaintiff, including “misrepresenting to Plaintiff a

material fact or policy provision relating to coverage at issue” all fail as a matter of

 

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law because the language of an insurance policy controls and the insured has a duty
to read and be familiar with the terms of his own insurance policy. Heritage Manor
of Blaylock Props., Inc. v. Petersson, 677 S.W.2d 689, 691 (Tex. App.-Dallas 1984,
writ ref’d n.r.e.); Howard v. Burlington Ins. Co., 347 S.W.3d 783, 792 (Tex. App._
Dallas 2011, no pet.); Garrison Contractors, Inc. v. Liberty Mut. Ins. Co., 927 S.W.2d
296, 300 (Tex. App._El Paso 1996). Further, an insured is bound to the terms of the
policy Whether he reads it or not. Howard v. Burlington Ins. Co., 347 S.W.3d at 792
(citing Manion v. Security Nat’l Ins. Co., No. 13-01-248-CV, 2002 WL 34230861, *3
(Tex. App._Corpus Christi Aug. 15, 2002, no pet.)); Ruiz u. Gov’t Employees Ins.
Co., 4 S.W.3d 838, 841 (TeX. App._El Paso 1999, no pet.).

4. Pleading further and in the alternative, Defendant asserts that under
Texas laW, coverage under a policy of insurance cannot be created by waiver or
estoppel Ulico Cas. Co. v. Allied Pilots Assn., 262 S.W.3d 773, 778-79 (Tex. 2008)
(citing Farmers Tex. County Mut. Ins. Co. v. Wilkinson, 601 S.W.2d 520 (TeX. Civ.
App.-Austin 1980, Writ ref’d n.r.e.)).

5. Pleading further and in the alternative, Defendant asserts that if
Plaintiff’s damages, if any, resulted from both covered and non-covered causes of
loss, Plaintiff bears the burden of segregating the damages which resulted from
covered causes of loss. See Nat’l Union Fire Ins. of Pittsburgh, Pa. v. Puget Plastics
Corp., 735 F.Supp.2d 650, 669 (S.D. Tex. 2010); All Saints Catholic Church v.
United Nat’l Ins. Co., 257 S.W.3d 800 (TeX. App._Dallas 2008, no pet.); Feiss v.

State Farm Lloyds, 392 F.3d 802, 807 (5th Cir. 2004).

 

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6. Pleading further and in the alternative, Defendant asserts the
defenses of waiver and estoppel as provided under applicable law.

7 . Pleading further and in the alternative, Defendant alleges that
discovery in this case may show that Plaintiff failed to mitigate its damages as
required by applicable law and Plaintiff’s claims and causes of action may therefore
be barred in whole or in part.

8. Pleading further, and in the alternative, Defendant alleges that the
discovery in this case may show that Plaintiff failed to mitigate its damages as
required under the terms and provisions of the policy of insurance Defendant issued
to Plaintiff, and that any damages Plaintiff suffered by such failure to mitigate are
therefore barred.

9. Pleading further and in the alternative, Defendant asserts the
coverage language, exclusions, limitations and definitions in the policy of insurance
Defendant issued to Plaintiff under number PHPK1359399, including but not
limited the following:

a. Property Coverage Form (PI-ULT-007 11.98), modified by Texas
Changes endorsement (form PI-ULT-043 01.01):

A. Coverage

We will pay for direct physical “|oss” to Covered Property caused
by or resulting from any of the Covered Causes of Loss.

B. Exclusions
See the Causes of Loss Form.
E. Loss Conditions

The following conditions apply in addition to the Common Policy
Conditions and the Commercial Property Conditions:

3. Duties |n The Event Of Loss Or Damage

 

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a. You must see that the following are done in the event of
“loss” to Covered Property:

* * 'k

(2) Give us prompt notice of the “loss” or damage.
include a description of the property invoived.

(3) As soon as possible, give us a description of how,
when and where the “loss” or damage occurred.

(4) Take all reasonable steps to protect the Covered
Property from further damage by and of the
Covered Causes of Loss, if feasible, set the
damaged property aside and in the best possible
order for examination. Aiso, keep a record of your
expenses for emergency and temporary repairs, for
consideration in settlement of the claim, This will
not increase the Limit of insurance.

(5) At our request, give us complete inventories of the
damaged and undamaged property. include quanti-
ties, cost, values, and amount of “loss” ciaimed.

(6) As often as may be reasonably required, permit us
to inspect the property and records proving the
“|oss”.

Also permit us to take samples of damaged and
undamaged property for inspection, testing, and
analysis, and permit us to make copies from your
books and records.

(9) Send us a signed, sworn proof of loss containing
the information we request to investigate the ciaim.
You must do this within 60 days after our request.
We will supply you with the necessary forms.

(10)Cooperate with us in the investigation or settlement of
the claim,

b. We may examine any insured under oath, while not in the
presence of any other insured and at such times as may
be reasonably required, about any matter relating to this
insurance or the claim, including an insured’s books and
records. in the event of an examination, an insured’s
answers must signed.

4. Loss Payment

a. in the event of “loss” to Covered Property covered by
this Coverage form, at our option, we will either:

(1) Pay the value of lost or damaged property;

 

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(2) Pay the cost of repairing or replacing the lost or
damaged property;

(3) Take all or any part of the property at an agreed or
appraised vaiue; or

(4) Repair, rebuild or replace the property with other
property of like kind and quality.

5. Coverage Extensions

Except as otherwise provided, the following Coverage
Extensions apply to property in or the “bui|dings” described
in the Deciarations or within 1,000 feet of the described
premises. ...

j. Ordinance or Law

if a Covered Cause of Loss occurs to a covered
“bui|ding”, we will pay for:

(1) Loss to the undamaged portion of the “bui|ding”
caused by enforcement of any ordinance or law
that:

(a) Requires the demolition of parts of the same
property not damaged by a Covered Cause of
Loss; and

(b) Regulates the construction or repair of
“bui|dings” or establishes zoning or land use
requirements at the described premises.

This coverage is included within the Limit of
insurance applicable to the covered “bui|dings”
shown in the UitimateCover Program Deciarations.

(2) The cost to demolish and clear the site of
undamaged parts of the property caused by
enforcement of building, zoning or land use
ordinance or law.

The most we will pay for such demolition costs if
$300,000 in any one occurrence.

(3) We Wiii pay for the increased cost to repair, rebuild
or construct the property caused by enforcement of
building, zoning or land use ordinance or iaw. if the
property is repaired or rebuiit, it must be intended
for similar occupancy as the current property,
unless otherwise required by zoning or land use
ordinance or iaw.

However, we will not pay for the increased cost of
construction if the “bui|ding” is not repaired or
replaced.

 

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The most we will pay for such increased cost of
construction is $300,000 in any one occurrence.

insurance under this Coverage Extension applies only
with respect to an ordinance or law that is in effect at the
time of “loss”....

7. Va|uation

We will determine the value of Covered Property in the event
of “loss” as follows:

a. At replacement cost (without deduction for depreciation)
as of the time of “ioss”, except as provided in b., c., d.,
e., f., g., and h. beiow.

(1) We will not pay more for “loss” on a replacement
costs basis than the least of:

(a) The Limit of insurance applicable to the lost or
damaged property;

(b) The cost to replace the lost or damaged
property with other property;

(i) Of comparable material and quality; and
(ii) Used for the same purpose; or

(c) The amount you actually spend that is
necessary to repair or replace the lost or
damaged property.

(2) We will not pay on a replacement cost basis for any
“loss”.

(a) Untii the lost or damaged property is actually
repaired or replaced; and

(b) Uniess the repairs or replacement are made as
soon as reasonably possible after the “loss”.

if the repairs or replacement are not made as soon
as reasonably possible after the “ioss”, the value of
the property will be actual cash value.

b. Causes of Loss Form (Pl-ULT-OOS 11.98), modified by Limitations on
Fungus, Wet Rot, Dry Rot and Bacteria endorsement (form PI-ULT-
072 (10/10)):

A. Covered Causes of Loss

Covered Causes of Loss means Risks of Direct Physicai Loss
unless the “loss” is:

1. Excluded in Section B., Exclusions; or

 

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2. Limited in Section C., Limitations;
that follow.
B. Exclusions

2. We will not pay for “loss” caused by or resulting from any of
the following:

d. (1) Wearandtear;

(2) Rust, corrosion, decay, deterioration, spoilage,
contamination, hidden or latent defect or any
quality in property that causes it to damage or
destroy itse|f.

3. We will not pay for “loss” caused by or resulting from any of
the following. But if “loss” by a Covered Cause of Loss
resultsl we Wiii pay for that resulting “loss”.

c. Fauity, inadequate or defective:

(2) Design, specifications, workmanship, repair,
construction, renovation, remodeling, grading,
compaction;

(3) Materiais used in repair, construction, renovation or
remodeling; or

(4) Maintenance.

Of part or all of any property on or off the described
premises.

C. Limitations
1. We will not pay for ‘fioss” to:

c. The interior of any “bui|dings”, or to personal property in
“bui|dings”, caused by or resulting from rain, snow, sleet,
ice, sand or dust, whether driven by wind or not, uniess:

(1) The “bui|dings” first sustain damage by a Covered
Cause of Loss to their roof or Wails through which
the rain, snow, ice, sand or dust enters....

c. Texas Changes endorsement (form Pl-ULT-043 01.01):

A. Lega| Action Against Us

No one may bring a legal action against us under this Coverage
Part uniess:

a. There has been full compliance with ali of the terms of this
Coverage Part....

d. Commercial Property Conclitions endorsement (CP 00 90 07 88):

 

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H. POL|CY PER|OD, COVERAGE TERR|TORY
Under this Coverage Part:
1. We cover loss or damage commencing
a. During the policy period shown in the Deciarations....

e. Windstorm or Hail Percentage Deductible endorsement (PI-ULT-018

11.98%
COVERAGESUMMARY
Premises Bidg. Windstorm or Haii Deductib|e
No. No. Percentage (enter 1%, 2% or 5%)
0001 0003 1%
0001 0004 1%
0001 0006 1%
0001 0007 1%
0001 0010 1%
0001 0011 1%
0001 0012 1%
0001 0013 1%
0001 0013 1%
0001 0014 1%
0001 0015 1%
0001 0016 1%
0001 0017 1%
0001 0018 l%
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0001 0025 1%
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0001 0026 1%
0001 0027 1%
0001 0028 1%
0001 0029 1%
0001 0030 l%
0001 0031 1%
0001 0032 1%
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0001 0035 1%
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0001 0037 1%
0001 0037 1%

The Windstorm or Haii Deductibie, as shown in the Scheduie, applies
to direct physical “loss” to Covered Property, caused by or resulting
from Windstorm or Haii, regardless of any other cause or event that
contributes concurrently or in any sequence to the “loss” or damage.
if “loss” from a covered weather condition other than Windstorm or
Haii occurs, and that “loss” would not have occurred but for the
Windstorm or Haii such “loss” shall be considered to be caused by

 

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Windstorm or Haii and therefore part of the Windstorm of Haii
occurrence.

With respect to Covered Property at a location identified in the
Scheduie, no other deductible applies to Windstorm or Hail.

The Windstorm of Haii Deductibie applies whenever there is an
occurrence of Windstorm or Haii.

As used in this endorsement the terms “specific insurance” and
“bianket insurance” have the following meanings. Specific insurance
covers each item of insurance (for exampie, each building or
personal property in a building) under a separate Limit of insurance.
Bianket insurance covers two or more items of insurance (for
example a building and personal property in that building or two
buildings) under a single Limit of insurance. items of insurance and
corresponding Limit(s) of insurance are shown in the Deciarations.

Windstorm or Haii Deductibie Ciause

A. A|i Policies
1. A deductible is calculated separately for, and applies
separately to:
a. Each building, if two or more buildings sustain loss or
damage;

b. The building and to personal Property in that building,
if both sustain loss or damage;

c. Personal property at each building, if personal
property at two or more buildings sustains loss or
damage;

d. Personal Property in the open.

2. We will not pay for “loss” until the amount of “loss”
exceeds the applicable Deductible. We will then pay the
amount of “loss” in excess of that Deductibie up to the
applicable Limit of insurance, after any reduction required
by any of the following:

a. Coinsurance Condition
b. Agreed Vaiue Option Coverage
c. Reporting Endorsement

3. For property covered under the Coverage Extension for
Newiy Acquired or Constructed: When we determine the
amount, if any, that we will pay for “ioss”, we will deduct
an amount equal to a percentage of the value(s) of the
property at time of “loss”. The applicable percentage for
Newiy Acquired or Constructed Property is the highest
percentage shown in the Scheduie for any described
premises

 

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* * *

C. Caicuiation of the Deductibie - Bianket insurance
1. Property Not Subject to Reporting Endorsement

When we determine the amount, if any, that we will pay for
“ioss”, we will deduct an amount equal to 1%, 2% or 5% (as
shown in the Scheduie) of the value(s) of the property that
has sustained “loss”. The value(s) to be used are those
shown in the most recent Statement of Vaiues on file with
us.

f. Windstorm Or Hail Percentage Deductible endorsement (manuscript
form Pl-MANU-l (01/00)):

This endorsement modifies the Pi-ULT-O18 Windstorm Or Haii
Percentage Deductibie Form.

‘As respects to only the frame structures with a 1 % wind/hail
deductible, a minimum % wind/hail deductible of $250,000 applies’.

The Windstorm or Haii Deductibie, as shown in the Scheduie, applies
to direct physical “loss” to Covered Property, caused by or resulting
from Windstorm or Haii, regardless of any other cause of event that
contributes concurrently or in any sequence to the “loss” or damage.
if “loss” from a covered weather condition other than Windstorm or
Haii occurs, and that “loss” would not have occurred but for the
Windstorm or Haii, such “loss” shall be considered to be caused by
Windstorm or Haii and therefore part of the Windstorm or Haii
occurrence

With respect to Covered Property at a location identified in the
Scheduie, no other deductible applies to Windstorm or Haii,

The Windstorm or Haii Deductibie applies whenever there is an
occurrence of Windstorm or Haii. . . .

g. Multiple Deductible Form (Fixed Dollar Deductibles) endorsement

 

(form Pl-ULT-089 (06.05)):
SCHEDULE*
The Deductibies applicable to any one occurrence are shown below:
Prem. Bidg. Deductibie Covered Causes
No. No. of Loss
0001 0001 50000 (1)
0001 0001 50000 (1)
0001 0002 50000 (1)
0001 0002 50000 (1)
0001 0003 50000 (2)
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* information required to complete this Scheduie, if not shown
above, will be shown in the Deciarations.

** For each Deductibie listed in this Scheduie, enter the number
corresponding to the Covered Cause(s) of Loss to which that
Deductibie applies (or enter the description):

(1) All Covered Causes of Loss

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(2) All Covered Causes of Loss except those listed separately

(3) Water Damage

(4) Lightning

(5) Windstorm or Haii

 

PHILADELPHIA INDEMNITY INSURANCE CoMPANY’s ORIGINAL ANSWER

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(6) Theft
(7) “ice Damming”
The following is added to the DEDUCTIBLE section:

A. in the event that loss or damage occurs to Covered Property at
more than one building location as a result of one occurrence,
the largest applicable deductible for that Covered Cause of Lossl
shown in the Scheduie above or in the Deciarations, will appiy.

B. The terms of this endorsement do not apply to any Earthquake
Deductibie or to any Windstorm or Haii Percentage Deductible.

h. Limitations on Fungus, Wet Rot, Dry Rot and Bacteria endorsement
(form PI-ULT-072 (10/10)):

A. Coverage

1. We will pay for “loss” or damage by “fungus,” wet or dry rot
or bacteria that is the result of fire or iightning.

2. a. We will also pay for loss or damage by “fungus,” wet or
dry rotor bacteria that is the result of one or more of the
following causes that occurs during the policy period.
Coverage applies only if all reasonable means were
used to save and preserve the property from further
damage at the time of and after that occurrence.

(1) A “speclfied cause of ioss” other than fire or
lightning;

(2) Water that backs up or overflows from a sewer,
drain or sump; or

(3) Water under the ground surface pressing on, or
flowing or seeping through:

(a) Foundations, walis, floors or paved surfaces;
(b) Basements, whether paved or not;
(c) Doors, windows or other openings; or

(4) “Flood," if the Fiood Endorsement applies to the
affected premises.

b. The term loss or damage as used in item 2.a. means:

(1) Direct physical “loss” or damage to Covered
Property caused by “fungus,” wet or dry rotor
bacteria, including the cost of removal of the
“fungus,” wet or dry rot or bacteria;

(2) The cost to tear out and replace any part of the
building or other property as needed to gain access
to the “fungus,” Wet or dry rot or bacteria; and

 

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(3) The cost of testing performed after removai, repair,
replacement or restoration of the damaged property
is compieted, provided there is a reason to believe
that “fungus,” wet or dry rotor bacteria are present

3. The amount we will pay for coverage described in 2.a. above
is limited as described in B. Limits of insurance and C.
Additionai Conditions - Business income and/or Extra
Expense.

B. Limits of insurance

1. The most we will pay for ali “loss” or damage for coverage
described in A.1. above is the Limit of insurance for Covered
Property shown in the Deciarations.

2. a. The most we will pay for ali loss or damage for coverage
described in A. 2. above is limited to $15,000:

(1) Regardiess of the number of claims arising out of ali
occurrences which take place in a 12 month period,
starting with the beginning of the present annual
policy period; and

(2) Even if the “fungus,” wet or dry rotor bacteria
continues to be present or active, or recurs in a later
policy period.

b. The $15,000 Limit of insurance is included within, and is
not in addition to, the applicable Limit of insurance for
any Covered Property.

10. Pleading further and in the alternative, Defendant asserts the other
coverage language, exclusions, limitations, definitions and defenses reflected in the
policy of insurance Defendant issued to Plaintiff.

11. Pleading further and in the alternative, Defendant would show that
Plaintiff’s damages, if any, are capped by the limits reflected for such amounts
alleged in the policy of insurance Defendant issued to Plaintiff.

12. Pleading further and in the alternative, Defendant pleads the

applicability of the excessive demand doctrine, which precludes Plaintiff from

 

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recovering the fees and expenses of its attorney in this action, See Findlay v. che,

611 S.W.2d 57, 58 (Tex. 1981).

PRAYER
BASED ON THE FOREGOING, Defendant Philadelphia Indemnity
lnsurance Company, having fully answered, prays that upon final hearing and trial,
the claims and causes of action Plaintiff Superior Home Health Services, LLC has
brought against such Defendant be dismissed With prejudice, that Plaintiff take
nothing by its claims and causes of action, and that such Defendant obtain such
other relief and further relief to Which it may be justly entitled.

Respectfully submitted,
KANE RUSSELL COLEMAN LOGAN PC

By: /s/ William R. Pilat
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CERTIFICATE OF SERVICE

I hereby certify that on September 8, 2017, a true and correct copy of the
foregoing Original Answer was served upon all other counsel of record, as listed

below, by filing this instrument with the electronic service provider for the Bexar
County District Court:

Marc E. Gravely

Jonathan C. Lisenby
GRAVELY & PEARSON, L.L.P.
425 Soledad, Suite 600

San Antonio, Texas 7 8205

/s/ William R. P£Zat
William R. Pilat

 

PHILADELPHIA INDEMNITY INSURANCE CoMPANY’S ORIGINAL ANSWER PAGE 16
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Exhibit 4C

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CAUSE NO. 2017-CI-16586

THE ARMY RETIREMENT IN THE DISTRICT COURT
RESIDENCE FOUNDATION-
SAN ANTONIO, INC. D/B/A

ARMY RESIDENCE COMMUNITY,
Plaintiff,
VS. BEXAR COUNTY, TEXAS

§
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PHILADELPHIA INDEMNITY §
INSURANCE coMPANY, ET AL., §
§
§

Defendants 438'1`H JUDICIAL DISTRICT

 

DEFENDANT PHILADELPHIA INDEMNITY INSURANCE
COMPANY’S NOTICE OF REMOVAL TO FEDERAL COURT

 

TO THE HONORABLE JUDGE OF THIS COURT:

PLEASE TAKE NOTICE that pursuant to federal law, Philadelphia
Indemnity lnsurance Company, a Defendant in the above-numbered and
entitled cause, has filed with the Clerk of the United States District Court for the
Western District of Texas, San Antonio Division, a Notice of Removal, a copy of
which is attached to and filed with this Notice as Exhibit “A,” and that this action
is removed to the United States District Court for the Western District of Texas for
trial as of this date, September 8, 2017. This Court is respectfully requested to take
no further action in this matter, unless and until such time as the action may be

remanded by order of the United States District Court.

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Respectfully submitted,
KANE RUSSELL COLEMAN LOGAN PC

By: /s/ William R. Pilat
William R. Pilat
State Bar No. 00788205
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Houston, Texas 77056
Telephone: 713-425-7400
Facsimile: 713-425-7700

ATTORNEYS FOR DEFENDANT PHILADELPHIA
INDEMNITY INSURANCE COMPANY

CERTIFICATE OF SERVICE

 

l certify that on September 8, 2017, a true and correct copy of the foregoing
Notice of Removal to Federal Court was forwarded to all other counsel of record, as
listed below, via e-Filing with the electronic service provider for the Collin County
District Courts:

Marc E. Gravely

Jonathan C. Lisenby
GRAVELY & PEARSON, L.L.P.
425 Soledad, Suite 600

San Antonio, Texas 78205

/s/ William R. Pilat
William R. Pilat

 

DEFENDANT PHILADELPHIA INDEMNITY INSURANCE CoMPANY’s
NOTICE 0F REMOVAL To FEDERAL COURT PAGE 2

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Exhibit 4D

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CAUSE NO. 2017-CI-16586

THE ARMY RETIREMENT RESIDENCE
FOUNDATION - SAN ANTONIO, INC.
D/B/A ARMY RESIDENCE COMMUNITY

IN THE DISTRICT COURT

v.
438TH JUDICIAL DISTRICT
PHILADELPHIA INDEMNITY
INSURANCE COMPANY, MICHAEL DEAN §
HARGRAVE AND CATTO & CATTO, INC. §

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D/B/A CATTO & CATTO, LLP D/B/A §
CATTO & CATTO BENEFITS GROUP, LLP §
D/B/A CATTO & CATTO § BEXAR COUNTY, TEXAS

PLAINTIFF’S SPECIAL EXCEPTIONS TO DEFENDANT
PHILADELPHIA INDEMNITY INSURANCE COMPANY’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Plaintiff, THE ARMY RESIDENCE FOUNDATION - SAN ANTONIO,
INC. D/B/A ARMY RESIDENCE COMMUNITY (“Plaintift”) and files this, its Special
Exceptions to Defendant, PHILADELPHIA lNDEMNITY INSURANCE COMPANY’S
(“Philadelphia” or “Defendant”) Original Answer, and specially excepts to Defendant’s Original
Answer as follows:

I.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 2, Wherein it alleges
that a bona fide dispute exists, precluding liability and Plaintiff’s recovery of damages under
Chapter 541 of the lnsurance Code and the common law duty of good faith and fair dealing. Such
pleading is so general and vague that it fails to provide any factual basis that a bona tide dispute
exists. Defendant should be ordered to replead With particularity to give Plaintiff fair notice or

such affirmative defense should be stricken

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II.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 4, Wherein it alleges
that the coverage under a policy of insurance cannot be created by waiver or estoppel. Such
pleading is general, vague, and wholly devoid of any factual basis and fails to fairly apprise
Plaintiff of how Defendant’s assertion of law pertains to the coverage provided under the policy
of insurance issued to Plaintiff by Defendant. Defendant should be ordered to replead With
particularity to give Plaintiff fair notice or such defense should be stricken.

III.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 5, Wherein it alleges
that if Plaintiff’ s damages resulted from both covered and non-covered causes of loss, Plaintiff
bears the burden of segregating the damages Which resulted from covered causes of loss.
Defendant provides no factual basis for such allegation, and said allegation is so general, vague
and speculative that it fails to fairly apprise Plaintiff of What non-covered cause or causes allegedly
contributed or caused the damage complained of by Plaintiff in this case. Defendant should be
ordered to replead to give Plaintiff fair notice or such affirmative defense should be stricken

IV.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 6, wherein it pleads
the affirmative defenses of Waiver and estoppel for the reason that said allegation is so general,
vague and non-specific it fails to fairly apprise the Plaintiff of the facts underlying such pleading.
By reason thereof`, Plaintiff cannot prepare its case for the trial of this lawsuit and such affirmative

defense should be stricken.

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V.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 7, wherein it alleges
that Plaintiff’s claims and causes of action may be barred in Whole or in part if discovery in this
case shows that Plaintiff failed to mitigate its damages for reason that said allegation is so general,
vague and speculative that it fails to fairly apprise the Plaintiff of Which damages Were allegedly
not mitigated and how Plaintiff failed to mitigate them. Defendants should be ordered to replead
to give Plaintiff fair notice or such affirmative defense should be stricken.

VI.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 8, Wherein it alleges
that any damages Plaintiff suffered by failure to mitigate are barred if discovery in this case shows
that Plaintiff failed to mitigate its damages for reason that said allegation is so general, vague and
speculative that it fails to fairly apprise the Plaintiff of which damages were not mitigated and how
Plaintiff failed to mitigate them. Defendants should be ordered to replead to give Plaintiff fair
notice or such affirmative defense should be stricken.

VII.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 9, Wherein it asserts
coverage language, exclusions, limitations and definitions in the policy of insurance Philadelphia
issued to Plaintiff, including but not limited to, several provisions quoted within the answer.
Defendant provides no factual basis for such allegation, and said allegation is so general, vague
and speculative that it fails to fairly apprise the Plaintiff of Which specific causes of action or
damages are allegedly barred or limited by the policy provisions listed and fails to apprise the
Plaintiff of what specific damages or damaged building components Defendant alleges Were not

covered damages based on provisions of the policy, including those provisions cited.

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Furthermore, Within paragraph 9, Defendant references the entirety of the insurance policy
at issue (“including but not limited to”) and asserts every provision, term conditions and exclusion
of the policy. Defendant provides no factual basis for such allegation, and said allegation is so
general, vague and speculative that it fails to fairly apprise the Plaintiff of Which specific policy
provisions, terms, conditions or exclusions Defendant contends limits Plaintiff’s damages.
Defendant should be ordered to replead to give Plaintiff fair notice or such affirmative defense
should be stricken.

VIII.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph l0, wherein it asserts
“other coverage language, exclusions, limitations, definitions and defenses reflected in the policy
of insurance Defendant issued to Plaintiff” Within paragraph 10, Defendant references the
entirety ofthe insurance policy at issue and asserts every provision, terrn, condition and exclusion
of the policy. Defendant provides no factual basis for such allegation, and said allegation is so
general, vague and speculative that it fails to fairly apprise the Plaintiff of Which specific policy
provision, term condition or exclusion Defendant contends limits or bars Plaintiff’s causes of
action or damages. Defendant should be ordered to replead to give Plaintiff fair notice or such
affirmative defense should be stricken.

IX.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph ll, Wherein it
alleges Plaintiff’s damages are capped by the limits reflected for such amounts in the policy of
insurance Defendant issued to Plaintiff, Defendant provides no factual basis for such allegation,
and said allegation is so general, vague and speculative that it fails to fairly apprise Plaintiff of

Which specific policy provision allegedly limits Plaintiff’s damages or Which specific measure or

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category of damages are allegedly limited. Defendant should be ordered to replead to give Plaintiff
fair notice or such affirmative defense should be stricken.
X.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph 9, including
sections (e) and (g), wherein it alleges various specific deductibles apply to Plaintiff’s claims for
damages. Defendant provides no factual basis for such allegation, and said allegation is so
general and vague that it fails to fairly apprise Plaintiff of What deductible(s) apply to the
amounts already paid to Plaintiff and how deductibles were calculated. Defendant should be
ordered to replead With particularity to give Plaintiff fair notice or such allegation should be
stricken.

XI.

Plaintiff specially excepts to Defendant’s Original Answer, paragraph l2, wherein it
alleges that the excessive demand doctrine precludes Plaintiff from recovering the fees and
expenses of its attorney in this action, Defendant provides no factual basis for such allegation, and
said allegation is so general and Vague that it fails to fairly apprise Plaintiff of how its demand was
allegedly unreasonable or made in bad faith. Defendant should be ordered to replead with
particularity to give Plaintiff fair notice or such allegation should be stricken.

WHEREFORE, PREMISES CONSIDERED, Plaintiff, THE ARMY RETIREMENT
RESIDENCE FOUNDATION ~ SAN ANTONIO, INC. D/B/A ARMY RESIDENCE

COMMUNITY, request this Honorable Court to order Defendant to replead as requested above.

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Respectf`ully submitted,

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nw G~»JH

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ATTORNEYS FOR PLAINTIFF

 

CERTIFICATE OF SERVICE

This is to certify that on the 8th day of September, 2017, a true and correct copy of the
above and foregoing Was served on the following persons via e-service, pursuant to Rules 21 and
21a ofthe TRCP.

William R. Pilat

Andrew J. Mihalick

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Email: amihalick@krcl.com

Attomeys F or Defendant Philadelphia Indemnity lnsurance

 

Marc E. Gravely

